                                                     Case 2:09-cv-00845-JAM-DAD Document 15 Filed 04/06/10 Page 1 of 2

                                     1          MICHAEL E. BREWER, Bar No. 177912
                                                GREGORY G. ISKANDER, Bar No. 200215
                                     2          LITTLER MENDELSON
                                                A Professional Corporation
                                     3          1255 Treat Boulevard, Suite 600
                                                Walnut Creek, CA 94597
                                     4          Telephone: 925-932-2468
                                                Facsimile: 925-946-9809
                                     5          mbrewer@littler.com
                                                giskander@littler.com
                                     6
                                                Attorneys for Defendants
                                     7          WINGFOOT COMMERCIAL TIRE SYSTEMS, LLC, and
                                                THE GOODYEAR TIRE & RUBBER COMPANY
                                     8

                                     9          O. DAVID NATANZI, Bar No. 199983
                                                NATANZI & SOLIEMANZADEH LEGAL GROUP, LLP
                                10              1880 Century Park East, Suite 1100
                                                Los Angeles, California 90067
                                11              Telephone: (310) 201-4999
                                                Facsimile: (310) 201-5999
                                12              david@nslegalgroup.com
                                13              Attorneys for Plaintiff
                                                GARY FOSTER
                                14
                                                                               UNITED STATES DISTRICT COURT
                                15
                                                                              EASTERN DISTRICT OF CALIFORNIA
                                16
                                                                                  SACRAMENTO DIVISION
                                17

                                18              GARY FOSTER,                               Case No. 2:09-CV-00845-JAM-DAD
                                19                             Plaintiff,                 STIPULATION AND ORDER FOR
                                                v.                                        DISMISSAL OF ENTIRE ACTION AND ALL
                                20                                                        PARTIES WITH PREJUDICE
                                                WINGFOOT COMMERCIAL TIRE
                                21              SYSTEMS, LLC, an Arkansas corporation;
                                                THE GOODYEAR TIRE AND RUBBER
                                22              COMPANY, an Ohio corporation; and
                                                DOES 1 through 50, Inclusive,
                                23
                                                                Defendants.
                                24

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L IT T LE R ME N DE LS O N                                                                      STIPULATION AND ORDER FOR DISMISSAL
A P R O F E S S I ON A L C O R P O R AT I O N
         1 3 0 0 ID S C e n te r
       8 0 S o u th 8 th S tr e e t
                                                (NO. 09-CV-00845)                               OF ENTIRE ACTION AND ALL PARTIES WITH
M in n ea p o l i s , M N 5 5 4 02 . 21 3 6
           6 1 2 . 63 0 . 10 0 0                                                                PREJUDICE
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                                                   Case 2:09-cv-00845-JAM-DAD Document 15 Filed 04/06/10 Page 2 of 2

                                     1                   Having fully resolved the disputes herein, IT IS HEREBY STIPULATED AND AGREED

                                     2          by and between Plaintiff Gary Foster and Defendant Wingfoot Commercial Tire Systems, LLC, by

                                     3          and through their respective attorneys, that the above-captioned action be dismissed with

                                     4          prejudice on the merits as to all named defendants and without costs to any of the parties pursuant to

                                     5          Federal Rule of Civil Procedure 41(a)(1).

                                     6          SO STIPULATED.

                                     7
                                                Dated: April 1, 2010
                                     8

                                     9
                                                                                              /S/ _Gregory G. Iskander____________
                                10                                                            GREGORY G. ISKANDER
                                                                                              LITTLER MENDELSON
                                11                                                            Attorneys for Defendants
                                                                                              WINGFOOT COMMERCIAL TIRE SYSTEMS,
                                12                                                            LLC, AND THE GOODYEAR TIRE & RUBBER
                                                                                              COMPANY
                                13              Dated: April 1, 2010
                                14

                                15                                                            /S/ O.David Natanzi___________
                                                                                              O. DAVID NATANZI
                                16                                                            NATANZI & SOLIEMANZADEH LEGAL
                                                                                              GROUP, LLP
                                17                                                            Attorneys for Plaintiff GARY FOSTER
                                18
                                                                                              ORDER
                                19
                                                         Based on the foregoing and good cause appearing, IT IS HEREBY ORDERED that this
                                20
                                                matter be and is hereby dismissed with prejudice as to all named Defendants. Each party is to bear
                                21
                                                its own costs. The case is hereby closed.
                                22
                                                IT IS SO ORDERED.
                                23

                                24              Dated: April 6, 2010
                                25

                                26                                                            /s/ John A. Mendez_______
                                                                                              Honorable John A. Mendez
                                27                                                            United States District Judge
                                28              Firmwide:94869912.1 056530.1127
L IT T LE R ME N DE LS O N                                                                              STIPULATION AND ORDER FOR DISMISSAL
A P R O F E S S I ON A L C O R P O R AT I O N
         1 3 0 0 ID S C e n te r
       8 0 S o u th 8 th S tr e e t
                                                (NO. 09-CV-00845)                              2.       OF ENTIRE ACTION AND ALL PARTIES WITH
M in n ea p o l i s , M N 5 5 4 02 . 21 3 6
           6 1 2 . 63 0 . 10 0 0                                                                        PREJUDICE
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